Case 8-19-73137-reg Doci1 Filed 04/18/19 Entered 04/18/19 13:41:53

Fill in this information to identify the case:

| United States Bankruptcy Court for the:
i

Basteen District of _ NY
i
}

 

(State)

Case number (i known}: Chapter CLERK (QQ Check if this is an

U.S. BANKRUPTCY COURT ended filing

EASTERN DISTRICT OF NEW YORK
RECEIVED - BROOKLYN

 

 

 

Official Form 201 “n
7 2549 PHOT: 25
Voluntary Petition for Non-Individuals Filing ‘for Bankruptcy oats

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms tor Non-Individuals, is available.

1. Debtor’s name ATLANTIC 111ST LLC

 

2. All other names debtor used
in the last 8 years

 

 

 

Include any assumed names,
trade names, and doing business
as names

 

 

3. Debtor’s federal Employer _ 0 6 3
Identification Number (EIN) 2 7- ~-+ 4 6 2.0.6 3.

 

 

 

 

 

4. Debtor's address Principal place of business Mailing address, if different from principal place
. ER
Avant C , of business
110-19 Attebtic Ave
Number Street Number Street
P.O. Bax

Richmond Hill, NY 11418
City State ZIP Code City sy State ZIP Code

 

 

Location of principal assets, if different from
principal place of business

 

 

 

 

 

 

 

QUEENS
County
Number Street
City State ZIP Code
5. Debtor's website (URL)
_ /
6. Type of debtor Zi Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

C] Partnership (excluding LLP)
Q Other. Specify:

 

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcv naae 1
Case 8-19-73137-reg Doci1 Filed 04/18/19 Entered 04/18/19 13:41:53

Debtor Atlantic 111St LLC Case number tit knawny

 

Name

 

7. Describe debtor's business

A. Check one:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C} Raitroad (as defined in 11 U.S.C. § 101(44))
C1 Stockbroker {as defined in 11 U.S.C. § 101(53A))
| Commodity Broker (as defined in 11 U.S.C. § 101(6))
Q Clearing Bank (as defined in 11 U.S.C. § 781(3))
C) None of the above

B. Check ail that apply:

Q) Tax-exempt entity (as described in 26 U.S.C. § 501 )

C Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

CI} investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (

Aue

erican Indust

ts oy

    

ty Classification System) 4-digit code that best describes debtor. See
igi-national iation-na 2s

     

 

8. Under which chapter of th
Bankruptcy Code is the
debtor filing?

Check one:

Q) Chapter 7
C) Chapter 9
Chapter 11. Check all that apply

C} Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

A The debtor is a small business debtor as defined in 14 U.S.C. § 101(51D). If the
debtor is a smail business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

QhAa plan is being filed with this petition.

Q Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C} The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

 

 

 

 

List all cases. If more than 1,
attach a separate list.

 

 

12b-2.
Q Chapter 12
9. Were prior bankruptcycases [fj yo
filed by or against the debtor
within the last 8 years? Q) Yes. District When Case number a
MM / DD/YYYY
lf more than 2 cases, attach a a
separate list. District When Case number
MM/ DD/YYYY
10. Are any bankruptcy cases EW] No
pending or being filed by a
business partner oran CL) Yes. Debtor Relationship
affiliate of the debtor? District When

 

MM / DD /YYYY
Case number, if known

 

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy pade 2
Case 8-19-73137-reg Doci1 Filed 04/18/19 Entered 04/18/19 13:41:53

Debtor Atlantic 111 St LLC Case number (it known}

Name

 

11. Why is the case filed in this
district?

Check all that apply:

| Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

La bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

Wt No

Cl Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
Why does the property need immediate attention? (Check all that apply.)

QO) it poses or is alleged to pose a threat of imminent. and identifiable hazard to public health or safety.
What is the hazard?

 

C1 Itneeds to be physically secured or protected from the weather.

CI Itincludes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

CY Other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Is the property insured?

CI No

C} Yes. insurance agency

 

Contact name

 

Phone

 

 

FR st2ristca and administrative information

 

13. Debtor’s estimation of
available funds

Check one:

(0 Funds will be available for distribution to unsecured creditors.
Q) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

 

. A 1-49 C) 1,000-5,000 C1) 25,001-50,000
14, Estimated number of C) s0-99 C1 5,001-10,000 Q) 50,001-100,000
creditors C} 100-199 © 10,001-25,000 Q) More than 100,000
C) 200-999
. ef s0-s50,000 O $1,000,001-$10 million CI $500,000,001-$1 billion
15. Estimated assets Q) $50,001-$100,000 2) $10,000,001-$50 million Q) $1,000,000,001-$10 billion
() $100,001-$500,c00 C} $50,000,001-$100 million C1) $10,000,000,001-$50 billion
C} $500,001-$1 million CF $100,000,001-$500 million Q) More than $50 billion

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case’8-19-73137-reg Doci1 Filed 04/18/19 Entered 04/18/19 13:41:53

Debtor Atlantic 111 St LLc Case number ( known)

 

Name

 

 

; Co Q) $0-$50,000 CI $1,000,001-$10 million
16. Estimated liabilities

(J $500,000,001-81 billion

C] $50,001-$100,000 CI $10,000,001-$50 million (J $1,000,000,001-$10 billion
L} $100,001-$500,000 C) $50,000,001-$100 million C) $10,000,000,001-$50 billion
L) $500,001-$1 million C) $100,000,001-$500 million CI More than $50 billion

 

ee Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a ba
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

nkruptcy case can result in fines up to
and 3571.

17. Declaration and signature of g —The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

authorized representative of

 

 

debtor petition.

a [| have been authorized to file this petition on behalf of the debtor.

= | have examined the information in this petition and have a reasonable belief that the information is true and
correct.

! declare under penaity of perjury that the foregoing is true and correct.
Executed on oy /ix 2 Og

MM /DD,/YYYY
—
: f

x Dovel OY JARNAIL Spb
Signature of authorized representative of debtor Printed name
Title thes \dewt

1s. Signatur attor
gnature of attorney Xx Date

 

Signature of attorney for debtor

 

MM /DD /YYYY

 

Printed name

 

Firm name

 

Number Street

 

City

 

Contact phone

State ZIP Code

 

Email address

 

Bar number

State

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 4
Case 8-19-73137-reg Doci1 Filed 04/18/19 Entered 04/18/19 13:41:53

_ Fill in this information to identify the case:

Debtor name Atlantic 111St LLC
United States Bankruptcy Court for the. Fa stern District of NY.

(State)
Case number (If known): (1 Check if this is an
amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property 42/15

Disclose ail property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 

 

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. in valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

| Cash and cash equivalents

 

 

1. Does the debtor have any cash or cash equivalents?
C) No. Go to Part 2.

ca Yes. Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of debtor’s
interest

2. Cash on hand 5 i, , 00 O.

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

 

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
3.1. ee ee $
3.2. ee $

 

4. Other cash equivalents (/dentify all)
4.1.

 

4.2,

 

 

5. Total of Part 1 $
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 

 

 

Es) Deposits and prepayments

 

6. - the debtor have any deposits or prepayments?
No. Go to Part 3.

LJ Yes. Fill in the information below.

Current value of
debtor’s interest

7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit
TA. $
7.2. $

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 1

 

 
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Debtor Atlantic 111S8St LLC Case number Grknown)

Name

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Description, including name of holder of prepayment
8.1. $
8.2. $

 

9. Total of Part 2.
Add lines 7 through 8. Copy the total to line 81,

 

 

 

Accounts receivable

 

 

10. Does the debtor have any accounts receivable?
No. Go to Part 4.

(J Yes. Fill in the information below.
Current value of debtor's

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

interest
11. Accounts receivable
11a. 90 days old or less: - cee > $
face amount doubtful or uncollectible accounts
11b. Over 90 days old: ~ F eects > $
face amount doubtful or uncollectible accounts
12. Total of Part 3 $
Current value on lines 11a + 11b = line 12. Copy the total to line 82.
Investments
13. Does the debtor own any investments?
No. Go to Part 5.
(I Yes. Fill in the information below.
Valuation method Current value of debtor’s
used for current value interest
14. Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:
14.1,
14.2. $
15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture
Name of entity: % of ownership:
15.1. % $
45.2. % $
16. Government bonds, corporate bonds, and other negotiable and non-negotiable
instruments not included in Part 1
Describe:
16.1. $
16.2. $
17. Total of Part 4 $
Add lines 14 through 16. Copy the totai to line 83.

 

 

 

Official Form 206A/B Schedule A/B: Assets —- Real and Personal Property page 2
Debtor Atlatic 111 SY: LLC Case number (if known)

 

18.

19.

20.

at.

22.

23.

24.

25.

26.

 

27.

28.

29,

30.

31.

32.

Case 8-19-73137-reg Doci1 Filed 04/18/19 Entered 04/18/19 13:41:53

Name

Inventory, excluding agriculture assets

Does the debtor own any inventory (excluding agriculture assets)?
C] No. Go to Part 6.
C Yes. Fill in the information below.

General description Date of the last Net book value of Valuation method used Current value of
physical inventory debtor's interest for current value debtor’s interest

(Where available)

Raw materials

 

 

MM /DDTYYYY $ $
Work in progress
MM 7 DB 7YYYY $ $

 

 

Finished goods, including goods held for resale

 

 

 

 

 

MM 7 DD/YYYY § $
Other inventory or supplies

MM 7DD/YYYY $ $
Total of Part & $
Add lines 19 through 22. Copy the total to line 84.

 

 

 

Is any of the property listed in Part & perishable?
No
Q) Yes

Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

ZW No

(Yes. Book value Valuation method Current value

Has any of the property listed in Part 6 been appraised by a professional within the last year?
No

CL) Yes

Farming and fishing-related assets (other than titled motor vehicles and land)

 

Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
No. Go to Part 7.

Qj Yes. Fill in the information below.

General description Net book vaiue of _ Valuation method used Current value of debtor's
debtor's interest for current value interest

(Where available)

Crops—either planted or harvested

 

 

 

 

 

 

 

$ $
Farm animals Examples: Livestock, poultry, farm-raised fish

$ $
Farm machinery and equipment (Other than titled motor vehicles)

$ $
Farm and fishing supplies, chemicals, and feed

$ $
Other farming and fishing-related property not already listed in Part 6

$ $

 

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 3
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Debtor Atl antic 111 St LLC Case number (if known)

 

 

Name

33. Total of Part 6.

 

 

 

 

 

$
Add lines 28 through 32. Copy the total to line 85.
34. Is the debtor a member of an agricultural cooperative?
NT
L) Yes. Is any of the debtor's property stored at the cooperative?
QI No
UC) Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
(3 No
C] Yes. Book value $ Valuation method Current value $
36. Is a depreciation schedule available for any of the property listed in Part 6?
LJ No
C} Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
No
U) Yes
Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
EI No. Go to Part 8.
C) Yes. Fill in the information below.
General description Net book value of Valuation method Current value of debtor’s
‘ debtor's interest used for current value interest

(Where available)
39. Office furniture

 

 

 

 

$
40. Office fixtures
$
41. Office equipment, including all computer equipment and
communication systems equipment and software
$

 

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
or baseball card collections; other collections, memorabilia, or collectibles

 

 

 

 

42.4 $ 5.
42.2 $ $
42.3 $ $

 

 

43. Total of Part 7.
Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

no

C) Yes

45. f any of the property listed in Part 7 been appraised by a professional within the last year?
No

LJ] Yes

Official Form 206A/B Schedule A/B: Assets —- Real and Personal Property

 

 

 

page 4

 

 
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Debtor Atlantic 111 St LLC Case number (known)

Name

 

Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

LJ No. Go to Part 9.
(J Yes. Fill in the information below.

General! description Net book vaiue of Valuation method used = Current value of
debtor's interest for current value debtor’s interest
Include year, make, model, and identification numbers (i.e., VIN,

HIN, or N-number) (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

 

 

 

 

 

 

47.1 $ $
47.2 $ $
47.3 $ $
47.4 $ $

 

 

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
trailers, motors, floating homes, personal watercraft, and fishing vessels

48.4 $ $
48.2 $ $

49. Aircraft and accessories

49.1 $ $
49.2 $ $

50. Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)

 

51. Total of Part 8. $
Add lines 47 through 50. Copy the total to line 87.

 

 

 

52. Is a depreciation schedule available for any of the property listed in Part 8?
Eb No
) Yes

53. igs ary of the property listed in Part 8 been appraised by a professional within the last year?
No

LY Yes

Official Form 206A/B Schedule A/B: Assets —- Real and Personal Property page 6
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Atlantic 111 St LLC

Debtor Case number (fknown)
Name

Real property

 

 

54. Does the debter own or lease any real property?
LJ No. Go to Part 10.
CJ Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

Description and location of property Nature and extent Net book value of Valuation method used
include street address or other description such as of debtor's interest debtor's interest for current value
Assessor Parcel Number (APN), and type of property in property (Where available)

(for example, acreage, factory, warehouse, apartment
or office building), if available.

Current value of
debtor’s interest

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

55.1 $ $
56.2 $ $
55.3 $ $
55.4 $ $
55.5 3 $
55.6 $ $
56. Total of Part 9, 5

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
No
() Yes
58. Has any of the property listed in Part 8 been appraised by a professional within the last year?
No
Q) yes

Part aKth Intangibles and intellectual property

 

 

 

59. Does the debtor have any interests in intangibles or intellectual property?
No. Go to Part 11.
(J Yes. Fill in the information below.

General description Net book value of Valuation method
debtor's interest used for current value

(Where available)
60. Patents, copyrights, trademarks, and trade secrets

Current value of
debtor’s interest

 

 

 

 

 

 

 

 

 

 

 

$ $
61. Internet domain names and websites

$ $
62. Licenses, franchises, and royalties

$ $
63. Customer lists, mailing lists, or other compilations

$ $
64. Other intangibles, or intellectual property 5

$

65. Goodwill

§ $
66. Total of Part 10. $

Add lines 60 through 65. Copy the total to line 89.

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

page 6

 

 
Debtor Atlantic 111 St LLC Case number (it known)

Case 8-19-73137-reg Doci1 Filed 04/18/19 Entered 04/18/19 13:41:53

Name

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

68.

69.

 

70.

71.

72.

73.

74,

75.

76.

77.

78.

79,

C) No
=) Yes

Is there an amortization or other similar schedule available for any of the property listed in Part 10?
LC) No

UL) Yes

Has any of the property listed in Part 10 been appraised by a professional within the last year?

() No

L) Yes

Pen de All other assets

Does the debtor own any other assets that have not yet been reported on this form?

include all interests in executory contracts and unexpired leases not previously reported on this form.
(No. Go to Part 12.

CI Yes. Fill in the information below.

Notes receivable
Description (include name of obligor)

 

 

 

Current value of
debtor’s interest

 

 

 

 

 

 

 

 

 

 

 

 

— ==> $
Total face amount doubtful or uncollectible amount
Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)
Tax year $
Tax year $
Tax year $
Interests in insurance policies or annuities
3%
Causes of action against third parties (whether or not a lawsuit
has been fited)
$
Nature of claim
Amount requested $
Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims
$
Nature of claim
Amount requested $
Trusts, equitable or future interests in property
$
Other property of any Kind not already listed Examples: Season tickets,
country club membership
Total of Part 11.
$

Add lines 71 through 77. Copy the total to line 90.

Has any of the property listed in Part 11 been appraised by a professional within the last year?
No

QO Yes

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

 

page 7

 
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Debtor A t 1 an t i c 1 1 1 Ss t LLC Case number (f known),

 

 

Name

Summary

 

 

In Part 12 copy all of the totals from the earlier parts of the form.

Type of property Current value of Current value
personal property of real property
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1. $
81. Deposits and prepayments. Copy line 9, Part 2. $
82. Accounts receivable. Copy line 12, Part 3. $
83. Investments. Copy line 17, Part 4. $
84. Inventory. Copy line 23, Part 5. $
85. Farming and fishing-related assets. Copy line 33, Part 6. $
86. Office furniture, fixtures, and equipment; and collectibles. $

Copy line 43, Part 7.

 

 

 

 

 

 

 

 

 

 

 

87. Machinery, equipment, and vehicles. Copy line 51, Part 8. $

88. Real property. Copy fine 56, Part Qo. ....c.cccccccccssesessesesssseseessansecsessenessseerenensersatensitecseseerecsese > $

89. Intangibles and intellectual property. Copy line 66, Part 10. $

90. All other assets. Copy line 78, Part 11. + $

91. Total. Add lines 80 through 90 for each column...........0c cece 91a. Soo 91b. $

92. Total of all property on Schedule A/B. Lines 91a + 91D = 92. oo. ieee cee seesceenacenesece ce nenenaeen aves socesstesengecareeseeseranenerees $

 

 

 

Official Form 206A/B Schedule A/B: Assets —- Real and Personal Property page &
Case 8-19-73137-reg Doci1_ Filed 04/18/19

Fill in this information Rese CuM iy iy cee

Debtor name Atlantic 111 St LLC
United States Bankruptcy Court for the: Fastern District of NY

(State)
Case number (if known): EFastern

Official Form 206D

 

 

 

Entered 04/18/19 13:41:53

(J Check if this is an
amended filing

Schedule D: Creditors Who Have Claims Secured by Property 42115

 

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?

{J No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

OQ Yes. Fill in all of the information below.

ie | List Creditors Who Have Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. List in aiphabetical order all creditors who have secured claims. {f a creditor has more than one Column A . Column B '
secured claim, list the creditor separately for each claim. Amount of olaim Value of collateral
Do not deduct the value that supports this
. of collateral. claim
Creditor’s name Describe debtor's property that is subject to a lien
—__MLF3 ATLANTIC. LLC Catering Hall $ 3.2M $2.
om CC
Creditor’s mailing address Lio ~- 19 ATLANTIC. AVE
ekriss sFeurstein up Richwood HILL, U9 HY 18
360 Lexington. Ave Desoribe the lien
NY, NY 10017
Creditor’s email address, if known is the creditor an insider or related party?
Ci No
Q) Yes
Date debt was incurred Is anyone else liable on this claim?
Last 4 digits of t LY No
SEG eights of aocoun CY Yes. Fill out Schedule H: Codebtors (Official Form 206H).
number ee
Do multiple oreditors have an interest in the As of the petition filing date, the claim is:
same property? Check ail that apply.
a No . og ; . | QO Contingent
Yes. Specify each creditor, including this creditor, Oo Unliquidated
and its relative priority. g Disputed
Bal Creditor’s name Describe debtor's property that is subject to a lien
$ $.
Creditor’s mailing address
Describe the lien
Creditor’s email address, if knewn Is the creditor an insider or related party?
J No
OQ Yes
Date debt was inourred Is anyone else liable on this claim?
Last 4 digits of account C1 No
8 un Cl) Yes. Fill out Schedule H: Codebtors (Official Form 206H).
number eee ne mente enn
Do multiple oreditors have an interest in the As of the petition filing date, the ofaim is:
same property? Check all that apply.
Q) No (3 contingent
(J Yes. Have you already specified the relative Q unliquidated
priority? Q Disputed
No. Specify each creditor, including this
creditor, and its relative priority.
Cl Yes. The relative priority of creditors is
specified on lines
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional $

Page, if any.

Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property pagetof_
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DIVISION OF CORPORATIONS “AND STATE Hed Ores /19 Entered OF 1A73331-0001

FILING RECEIPT

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ENTITY NAME: ATLANTIC 1118T LLC

DOCUMENT TYPE: ARTICLES OF ORGANIZATION (DOM LLC) COUNTY; QUEE

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AMARJIT SINGH 09/09/2010
131-05 HILLSIDE AVE

RICHMOND HILL, NY 11418

ADDRESS FOR PROCESS:

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THE LLC
131-05 HILLSIDE AVENUE
RICHMOND HILL, NY 11418

REGISTERED AGENT;

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MTCC BB SSS BSR ORS IMAM MTB TST TS SR SSMS TASS NS SSCS SSE SSP MSS SMA SE SSMS NS SSE RS
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SERVICE COMPANY: SERVICO ~ 35 SERVICE CODE: 35 *
FEES 225.00 PAYMENTS 2295.00
PILING 200.00 CASH 9.00
eet 0,00 CHECK 0,00
COPE 0.00 CHARGE 0.00
C ES 0.00 DRAWDOWN 225.00
HANDLING 25.00 OPAL 0.00
REFUND 0.00

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sii I RS DEPARTMENT OF THE TREASURY
INTERNAL REVENUE SERVICE
CINCINNATI OH 45999-0023

Date of this notice: 09-15-2010

Employer Identification Number:
XX-XXXXXXX

Form: SS-~-4

Number of this notice: CP 575 G
ATLANTIC 1115T LLC

AMARJIT SINGH SOLE MBR

13105 HILLSIDE AVE For assistance you may call us at:
RICHMOND HILL, NY 11418 1-800-829-4933

IF YOU WRITE, ATTACH THE
STUB AT THE END OF THIS NOTICE.

WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER

Thank you for applying for an Employer Identification Number (EIN). We assigned you
EIN XX-XXXXXXX. This EIN will identify you, your buginess accounts, tax returns, and

documents, even if you have no employees. Please keep this notice in your permanent
recorda,

When filing tax documents, payments, and related correspondence, it ia very important

that you uee your EIN and complete name and address exactly ag shown above. Any variation

‘ May cause a delay in processing, result in incorrect information in your account, or even
cause you to be assigned more than one EIN. If the information is not correct as shown
above, please make the correction using the attached tear off stub and return it to us.

A limited liability company (LLC) may file Form 8832, Entity Classification Election,
and elect to be classified as an association taxable as a corporation. If the LLC is
eligible to be treated as a corporation that meets certain testa and it will be electing $
corporation status, it must timely file Form 2553, Election by a Small Businesg

Corporation. The LLC will be treated as a corporation as of the effective date of the S
corporation election and does not need to File Form 8832.

To obtain tax forme and publications, including those referenced in thia notice,
vieit our Web site at www.irs.gov, I£ you do not have acceas to the internet, call
4~800-829-3676 (TTY/TDD 1-800-829-4059) or visit your local IRS office.

IMPORTANT REMINDERS;

*

Keep a copy of this notice in your permanent records. ‘This notice is issued only
ona time and the IRS will not be able to generate a duplicate cepy for you,

* Use this EIN and your name exactly as they appear at the top of this notice on all
your federal tax forms.

* Refer to thia BIN on your tax-related correspondence and documents.

If you have questions about your EIN, you can call us at the phone number or write to
us at the address shown at the top of this notice. If you write, please tear off the stub
at the bottom of this notice and send it along with your letter. If you do not need ro
write us, do not complete and return the stub. Thank you for your cooperation.
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eds 2 LU: WOPY Sovere gn Bank \o 3197 PB 6

*April 14, 2011

‘Lo Whom Uf May Concern:

Resolved that Mr. Amarjit Singh (SS 1D 8028) sole member (100 % membership)
of ATLANTIC TPIS LLG EIN & XX-XXXXXXX is being sold (100% membership) to Mr.

Jarnail Singh (SS 1 210) as of April O1, 2011 at § 100.00 without having any

capital pai or loss.

Mr. Amarjit Singh is also resigning any position held in A'TLANTIC 1118T LTC and
Amant Singh is the sole responsible for any tax Hability up to April OF, 2011,

Should you have any questions, plewse feel free to call,

Thanking you.

Sincerely

Dor piks nated

Amarjit Singh Jarnail Singh

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Case 8-19-73137-reg Doci1 Filed 04/18/19 Entered 04/18/19 13:41:53

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-- x

 

 

In re: Case No.
Chapter
Debtor(s)
Xx
AFFIRMATION OF FILER(S)

 

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer: ECON Amera WAS
Address: (ou > 33 JY 2 Hurt Jame NY UNSS

Email Address:

Phone Number: C247) SSR - Gil \

 

 

Name of Debtor(s):

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING:

 

 

ID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED:

( L" WAS NOT PAID.

I WAS PAID.
Amount Paid: $

I/We hereby affirm the information above under the penalty of perjury.

oo /
Dated: Yi bi Fk ea =
/

 

 
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re:

Case No.
Atlantic 111 St LLC

Chapter , 1

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

 

 

The undersigned debtoris) or attorney for the d
the creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
Knowledge. °

,

eptor(s) hereby verifies that

ee ae 18-19 .t

Ql

DAKNALL Gry ie PRES (DENI

Joint Debtor
Case 8-19-73137-reg Doci1 Filed 04/18/19 Entered 04/18/19 13:41:53

MLF 3 Atlantic LLC
Kriss 7Feurstein LLP
360 Lexington Ave

NY NY 10017
